                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MISSOURI

STATE OF MISSOURI,
STATE OF NEBRASKA,
STATE OF ALASKA,
STATE OF ARKANSAS,
STATE OF IOWA,
STATE OF MONTANA,
STATE OF NEW HAMPSHIRE,
STATE OF NORTH DAKOTA,
STATE OF SOUTH DAKOTA,                             No. _________
STATE OF WYOMING,

                Plaintiffs,

   v.

JOSEPH R. BIDEN, JR.,
in his official capacity as the President of
the United States of America;
THE UNITED STATES OF AMERICA;
UNITED STATES OFFICE OF
PERSONNEL MANAGEMENT;
KIRAN AHUJA in her official capacity as
director of the Office of Personnel
Management and as co-chair of the Safer
Federal Workforce Task Force;
GENERAL SERVICES
ADMINISTRATION;
ROBIN CARNAHAN in her official
capacity as administrator of the
General Services Administration and as
co-chair of the Safer Federal Workforce
Task Force;
OFFICE OF MANAGEMENT AND
BUDGET;
SHALANDA YOUNG in her official
capacity as Acting Director of the Office
of Management and Budget and as a
member of the Safer Federal Workforce


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   Task Force;
   SAFER FEDERAL WORKFORCE TASK
   FORCE;
   JEFFREY ZIENTS in his official capacity
   as co-chair of the Safer Federal Workforce
   Task Force and COVID-19 Response
   Coordinator;

   FEDERAL ACQUISITION
   REGULATORY COUNCIL;

   LESLEY A. FIELD, in her official capacity
   as Acting Administrator for Federal
   Procurement, Office of Management and
   Budget;

   JOHN M. TENAGLIA, in his official
   capacity as Principal Director of Defense
   Pricing and Contracting, Department of
   Defense;

   JEFFREY A. KOSES, in his official
   capacity as Senior Procurement Executive
   & Deputy Chief Acquisition Officer,
   General Services Administration; and

   KARLA S. JACKSON, in her official
   capacity as Assistant Administrator for
   Procurement, National Aeronautics and
   Space Administration,

                   Defendants.


                                         COMPLAINT

   1. Plaintiffs, the States of Missouri, Nebraska, Alaska, Arkansas, Iowa, Montana, New

Hampshire, North Dakota, South Dakota, and Wyoming, bring this action to challenge

Defendants’ use of federal procurement statutes to create sweeping new power to issue decrees

over large swaths of the U.S. economy and take over areas of traditional state power.



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   2. Through Executive Order 14042, President Biden has arrogated to the Executive Branch

the unilateral power to mandate that all employees of federal contractors be vaccinated. This

power grab is sweeping in its scope. Employees of federal contractors constitute one-fifth of the

total U.S. workforce. And the mandate goes so far as to demand vaccination even from employees

who work entirely within their own home. That is unconstitutional, unlawful, and unwise.

                                             PARTIES

   3. Plaintiff State of Missouri is a sovereign State of the United States of America. Missouri

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   4. Eric S. Schmitt is the 43rd Attorney General of the State of Missouri. Attorney General

Schmitt is authorized to bring actions on behalf of Missouri that are “necessary to protect the rights

and interests of the state, and enforce any and all rights, interests, or claims any and all persons,

firms or corporations in whatever court or jurisdiction such action may be necessary.” Mo. Rev.

Stat. § 270.060.

   5. Plaintiff State of Nebraska is a sovereign State of the United States of America. Nebraska

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   6. Douglas J. Peterson is the Attorney General of Nebraska. Attorney General Peterson is

authorized to bring legal actions on behalf of the State of Nebraska and its citizens.

   7. Plaintiff State of Alaska is a sovereign State of the United States of America. Alaska sues

to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   8. Treg R. Taylor is the Attorney General of Alaska. Attorney General Taylor is authorized

to bring legal actions on behalf of the State of Alaska and its citizens.

   9. Plaintiff State of Arkansas is a sovereign State of the United States of America. Arkansas

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.


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    10. Leslie Rutledge is the Attorney General of Arkansas. Attorney General Rutledge is

authorized to bring legal actions on behalf of the State of Arkansas and its citizens.

    11. Plaintiff State of Iowa is a sovereign State of the United States of America. Iowa sues to

vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

    12. The Attorney General of Iowa is authorized and required to prosecute legal actions on

behalf of the State of Iowa and its citizens when requested to so by the Governor.

    13. Plaintiff State of Montana is a sovereign State of the United States of America. Montana

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

    14. The Attorney General of Montana is authorized to bring legal actions on behalf of the State

of Montana and its citizens.

    15. Plaintiff State of New Hampshire is a sovereign State of the United States of America.

New Hampshire sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae

interests.

    16. The Attorney General of New Hampshire is authorized to bring legal actions on behalf of

the State of New Hampshire and its citizens.

    17. Plaintiff State of North Dakota is a sovereign State of the United States of America. North

Dakota sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

    18. Wayne Stenehjem is the North Dakota Attorney General. Attorney General Stenehjem is

authorized to bring legal actions on behalf of the State of North Dakota and its citizens. N.D. Cent.

Code 54-12-02.

    19. Plaintiff State of South Dakota is a body politic created by the Constitution and laws of the

State; as such, it is not a citizen of any state. This action is brought by the State in its sovereign

capacity in order to protect the interests of the State of South Dakota and its citizens as parens


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patriae, by and through Jason R. Ravnsborg, the Attorney General of the State of South Dakota.

The Attorney General is acting pursuant to his authority to appear for the State and prosecute any

civil matter in which the State is a party or interested when, in his judgment, the welfare of the

State demands. S.D. Codified Laws §1-11-1(2).

   20. Plaintiff State of Wyoming is a sovereign State of the United States of America. Wyoming

sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae interests.

   21. Bridget Hill is the Attorney General of Wyoming. Attorney General Hill is authorized to

bring legal actions on behalf of the State of Wyoming and its citizens. Wyo. Stat. Ann. § 9-1-603.

   22. Collectively, the States of Missouri, Nebraska, Alaska, Arkansas, Iowa, Montana, New

Hampshire, North Dakota, South Dakota, and Wyoming are referred to herein as the “Plaintiff

States.”

   23. The Plaintiff States have the authority and responsibility to ensure that the United States

does not evade its obligations under the Constitution and deprive their citizens of their rights by

adopting a rule designed to evade traditional mechanisms of bicameralism and presentment and

democratic processes. The Plaintiff States thus bring this suit to obtain a declaration that the

contractor vaccine mandate is invalid, enjoin its enforcement, and protect the rights the Defendants

have violated.

   24. The Plaintiff States also bring this suit to protect state interests that the contractor vaccine

mandate unconstitutionally and unlawfully impairs. The contractor vaccine mandate conflicts with

state law, negatively affects the well-being of the residents of the Plaintiff States, and seeks to

coopt States into enforcing federal policy—a policy that is unconstitutional.

   25. Defendants are officials of the United States government and United States governmental

agencies responsible for implementing the contractor vaccine mandate.


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    26. Defendant Joseph R. Biden, Jr., is the President of the United States of America. He is

sued in his official capacity.

    27. Defendant United States Office of Personnel Management (“OPM”) is an independent

federal agency.

    28. Defendant Kiran Ahuja is director of OPM and co-chair of the Safer Federal Workforce

Task Force. She is sued in her official capacity.

    29. Defendant General Services Administration (“GSA”) is an independent federal agency.

    30. Defendant Robin Carnahan is administrator of GSA and co-chair of the Safer Federal

Workforce Task Force. She is sued in her official capacity.

    31. Defendant Office of Management and Budget (“OMB”) is an office within the Executive

Office of the President of the United States.

    32. Defendant Shalanda Young is Acting Director of the OMB and is a member of the Safer

Federal Workforce Task Force. She is sued in her official capacity.

    33. Defendant Safer Federal Workforce Task Force was established on January 20, 2021 by

Executive Order 13991.

    34. Defendant Jeffrey Zients is co-chair of the Safer Federal Workforce Task Force and is the

Biden Administration’s COVID-19 Response Coordinator. He is sued in his official capacity.

    35. Defendant Federal Acquisition Regulatory Council (“FAR Council”) is responsible for

“manag[ing], coordinat[ing], control[ling], and monitor[ing] the maintenance of, issuance of, and

changes in the Federal Acquisition Regulation.” 41 U.S.C. § 1303(d). The FAR Council issued

guidance that is challenged by this suit.

    36. Defendants Lesley A. Field, John M. Tenaglia, Jeffrey A. Koses, and Karla S. Jackson are

members of the FAR Council by virtue of their roles in their respective agencies. Defendant Lesley


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A. Field is the Acting Administrator for Federal Procurement of OMB. Defendant John M.

Tenaglia is the Principal Director of Defense Pricing and Contracting of the Department of

Defense. Defendant Jeffrey A. Koses is the Senior Procurement Executive & Deputy Chief

Acquisition Officer of GSA. Defendant Karla S. Jackson is the Assistant Administrator for

Procurement of NASA. They are sued in their official capacities.

                                 JURISDICTION AND VENUE

   37. This Court has jurisdiction pursuant to 5 U.S.C. §§ 702-703 and 28 U.S.C. §§ 1331, 1361,

and 2201.

   38. This Court is authorized to award the requested declaratory and injunctive relief under

5 U.S.C. §§ 702 and 706, 28 U.S.C. §§ 1361 and 2201-2202, and its inherent equitable powers.

   39. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(e).

Defendants are United States agencies or officers sued in their official capacities. Plaintiff State

of Missouri is a resident of this judicial district, and a substantial part of the events or omissions

giving rise to the Complaint occur within this district.

   40. The Plaintiff States bring this action to redress harms to their sovereign interests, their

quasi-sovereign interests, their proprietary interests, and their interests as parentes patriae; and to

vindicate their interests under 5 U.S.C. § 702 and 41 U.S.C. § 1707.

                                  GENERAL ALLEGATIONS

                                The Contractor Vaccine Mandate

   41. On January 20, 2021, President Biden signed Executive Order 13991, 86 Fed. Reg. 7045,

which established the Safer Federal Workforce Task Force (“Task Force”) to provide “ongoing

guidance to heads of agencies on the operation of the Federal Government, the safety of its

employees, and the continuity of Government functions during the COVID–19 pandemic.” 86 Fed.


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Reg. at 7046. The Task Force is headed by three co-chairs: (1) the Director of OPM; (2) the

Administrator of GSA; and (3) the COVID–19 Response Coordinator. The Executive Order also

required that GSA “provide funding and administrative support for the” Task Force. Id.

   42. On September 9, 2021, President Biden announced his “new plan to require more

Americans to be vaccinated” by imposing “new vaccination requirements.” Joseph Biden,

Remarks at the White House (Sept. 9, 2021), https://www.whitehouse.gov/briefing-

room/speeches-remarks/2021/09/09/remarks-by-president-biden-on-fighting-the-covid-19-

pandemic-3/ (accessed Oct. 28, 2021) (emphasis added).

   43. One of those mandates would “require all employers with 100 or more employees, that

together employ over 80 million workers, to ensure their workforces are fully vaccinated or show

a negative test at least once a week.” Id. (emphasis added).

   44. The President also announced plans to “requir[e] vaccinations” of “those who work in

hospitals, home healthcare facilities, or other medical facilities—a total of 17 million healthcare

workers.” Id. (emphasis added).

   45. He further declared that he would “sign an executive order that will now require all

executive branch federal employees to be vaccinated” and “another executive order that will

require federal contractors to do the same.” Id. (emphasis added).

   46. And finally, the President announced that he would “require all of nearly 300,000

educators in the federal paid . . . Head Start program” to get vaccinated. Id. (emphasis added).

   47. On September 9, 2021, President Biden signed Executive Order 14042 (“EO 14042”), 86

Fed. Reg. 50,985 (Sept. 14, 2021). EO 14042 required departments and agencies, including

independent establishments, to require contractors and subcontractors to “comply with all

guidance for contractor or subcontractor workplace locations published by the Safer Federal


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Workforce Task Force, provided that the Director of the Office of Management and Budget

approves the Task Force Guidance and determines that the Guidance ... will promote economy

and efficiency in Federal contracting.” § 2(a).

    48. EO 14042 delegated the President’s Authority under the Federal Property and

Administrative Services Act, see 40 U.S.C. §§ 101, 121, to the OMB Director under 3 U.S.C.

§ 301 to “determine whether such Guidance will promote economy and efficiency in Federal

contracting . . . .” § 2(c).

    49. EO 14042 said it was effective to new contracts, contract-like instruments, new

solicitations for contracts or contract-like instruments, extensions or renewals of contracts or

contract-like instruments if the extension or renewal occurred on or after October 15, 2021. § 6.

    50. Acting Director of OMB, Shalanda Young, concluded on September 24, 2021, that

compliance with the Task Force’s COVID-19 Workplace Safety: Guidance for Federal

Contractors and Subcontractors, which was also issued on September 24, 2021, would “improve

economy and efficiency by reducing absenteeism and decreasing labor costs for contractors and

subcontractors working on or in connection with a Federal Government contract.” 86 Fed. Reg.

53,691–92 (Sept. 28, 2021).

    51. The Task Force’s COVID-19 Workplace Safety: Guidance for Federal Contractors and

Subcontractors (the “Guidance,” attached as Exhibit 1) was never published in the Federal

Register.        Rather,       it   is   available       on   the   Task   Force’s   website   at:

https://www.saferfederalworkforce.gov/downloads/Draft%20contractor%20guidance%20doc_20

210922.pdf. The Guidance defines and delimits the contractor vaccine mandate.

    52. Neither the OMB nor the Task Force published the Guidance in the Federal Register for

public comment, waited 60 days before the Guidance became effective, provided a waiver from


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an authorized officer indicating that “urgent and compelling circumstances ma[d]e compliance

with” notice and comment and the effective period impracticable, see 41 U.S.C. § 1707(d), or

indicated that the Guidance and OMB’s conclusion were exempt from notice-and-comment, see 5

U.S.C. § 553(b).

    53. EO 14042 did not provide for any waiver of public comment or effectiveness date for the

Guidance.

    54. The Guidance, which includes clarifying FAQs, requires federal contractors and

subcontractors to mandate “COVID-19 vaccination of covered contractor employees, except in

limited circumstances where an employee is legally entitled to an accommodation.” Ex. 1, at 1.

The Guidance also requires a clause in covered contracts specifying that the contractor or

subcontractor must comply with the contractor vaccine mandate. See Ex. 1, at 3 (defining “covered

contract”).

    55. The Guidance also imposes mandatory mask policies on contractors, requiring contractors

to “ensure that all individuals, including covered contractor employees and visitors, comply with

published CDC guidance for masking and physical distancing at a covered contractor workplace.”

Ex. 1, at 6.

                                       The FAR Council

    56. EO 14042 provided direction to the FAR Council as well.

    57. Congress established the FAR Council in 1988 “to assist in the direction and coordination

of [g]overnment-wide procurement policy and [g]overment-wide procurement regulatory

activities in the [f]ederal [g]overnment.” Office of Federal Procurement Policy Act Amendments

of 1988, Pub. L. No. 100-679, § 4, 102 Stat. 4055, later codified at 41 U.S.C. § 1302(a).




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   58. The FAR Council consists of the Office of Federal Procurement Policy Administrator, the

Secretary of Defense, the Administrator of NASA, and the Administrator of GSA. 41 U.S.C.

§ 1302(b)(1). These officials are authorized to designate another agency official to serve on the

FAR Council. Id. § 1302(b)(2).

   59. Subject to limited exceptions,1 the FAR Council has the authority to issue “a single

[g]overnment-wide procurement regulation.” Id. § 1303(a)(1).

   60. No other agency is authorized to issue government-wide procurement regulations. Id.

§ 1303(a)(2).

   61. Section 1707 further protects Congress’s reforms to government procurement practices by

requiring that any “procurement policy, regulation, procedure, or form”—whether issued

government-wide by the FAR Council or for one agency by that agency—be subject to notice and

comment. 41 U.S.C. § 1707(a)-(b). The relevant official may waive that requirement only if

“urgent and compelling circumstances make compliance with the requirements impracticable.” Id.

§ 1707(d).

   62. EO 14042 instructs the FAR Council to “amend the Federal Acquisition Regulation to

provide for inclusion in federal procurement solicitations and contracts subject to this order” a

clause stating that the contractor shall, for the duration of the contract, comply with Task Force

Guidance. EO 14042 further instructs agencies to seek to implement this clause in contracts not

covered by the Federal Acquisition Regulation (“FAR”). 86 Fed. Reg. 50,985–86.




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            For example, the Office of Federal Procurement Policy Administrator may issue
government-wide regulations if the Department of Defense, NASA, and GSA are unable to agree
on or fail to issue regulations, 41 U.S.C. § 1121(d), and may remove a regulation if it is inconsistent
with the Federal Acquisition Regulation, id. § 1303(a)(5).


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   63. On September 30, 2021, the FAR Council—purporting to comply with the executive

order—issued its “[g]uidance” entitled “Issuance of Agency Deviations to Implement Executive

Order 14042” (“FAR Council guidance”).2 Ex. 2, at 1-2. In issuing the FAR Council guidance,

the FAR Council did not provide notice or opportunity for public comment.

   64. In its guidance, the FAR Council “encourage[s] [agencies] to make . . . deviations” to the

FAR, which should be “effective until the FAR is amended” by the FAR Council. Id. at 3.

   65. A deviation is a clause that is inconsistent with the FAR. FAR § 1.401. The FAR

prescribes procedures for making individual deviations and class deviations. Id. §§ 1.403-04.

Deviations are not an appropriate method for implementing a government-wide procurement

policy, and “[w]hen an agency knows that it will require a class deviation on a permanent basis, it

should propose a FAR revision.” Id. § 1.404.

   66. The FAR Council guidance contains a draft deviation clause that cites EO 14042 as the

single authority for the deviation and contains little substantive content other than requiring

compliance with the Task Force Guidance, even if that Guidance is amended during performance

of the contract. FAR Council guidance at 3-5.

   67. The FAR Council guidance “reminds” agencies that, under EO 14042, they are “required

to include an implementing clause” in new contracts awarded on or after November 14, 2021, new

solicitations issued on or after October 15, 2021, and options on existing contracts exercised on or

after October 15, 2021. Id. at 2.




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         See Memorandum from FAR Council to Chief Acquisition Officers et al. re: Issuance of
Agency Deviations to Implement Executive Order 14042 (Sept. 30 2021),
https://www.whitehouse.gov/wp-content/uploads/2021/09/FAR-Council-Guidance-on-Agency-
Issuance-of-Deviations-to-Implement-EO-14042.pdf.


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                           The Contractor Vaccine Mandate’s Scope

   68. The U.S. Department of Labor recognizes that “workers employed by federal contractors”

comprise “approximately one-fifth of the entire U.S. labor force.”3 This includes similarly large

proportions of the labor force in each of the Plaintiff States.

   69. The Guidance’s definition section highlights the contractor vaccine mandate’s broad scope.

A “contractor or subcontractor workplace location” “means a location where covered contract

employees work, including a covered contractor workplace or Federal workplace.” Ex. 1, at 3.

“Covered contractor employee,” in turn, “means any full-time or part time employee of a covered

contractor working on or in connection with a covered contract or working at a covered contractor

workplace. This includes employees of covered contractors who are not themselves working on

or in connection with a covered contract.” Id. at 4 (emphasis added). “Covered contractor

workplace” “means a location controlled by a covered contractor at which any employee of a

covered contractor working on or in connection with a covered contract is likely to be present

during the period of performance for a covered contract. A covered contractor workplace does not

include a covered contractor employee’s residence.” Id. at 4 (emphasis added).

   70. On its face, the contractor vaccine mandate therefore applies to employees of a contractor

or subcontractor who is a party to a federal contract, even if the work they do is wholly unrelated

to the contract, and even if it is not certain they will ever be working in a location with an employee

who is actually working on a federal contract.

   71. The FAQs clarify that “in connection with” includes “[e]mployees who perform duties

necessary to the performance of the covered contract, but who are not directly engaged in



       3
         DOL, History of Executive Order 11246, Office of Contract Compliance Programs,
https://www.dol.gov/agencies/ofccp/about/executive-order-11246-history (last visited Oct. 28,
2021) (emphasis added).
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performing the specific work called for by the covered contract, such as human resources, billing,

and legal review.” Ex. 1, at 13 (emphasis added). Thus, employees who never work directly on a

federal contract; who never directly work with an employee working on a federal government

contract; or who never work in the same building or location as an employee who works directly

on a federal government contract (e.g., completely back-room people), appear to be subject to the

contractor vaccine mandate.

   72. The FAQs also show the sweeping breadth of the “locations” to which the Guidance

applies. For example, the Guidance applies “to contractor or subcontractor workplace locations

that are outdoors.” Ex. 1, at 10. The FAQs also say that even if a contractor’s employee works in

an entirely separate floor or area or even building or site, they are working in a “covered contractor

workplace” “unless a covered contractor can affirmatively determine that none of its employees”

in the separate area “will come into contact with a covered contractor employee.” Id. (emphasis

added); see also id. at 11. “Contact,” the FAQs continue, includes “interactions” in “common

areas,” such as “elevators,” “stairwells,” and “parking garages.” Id. at 10, 11. And if an employee

is working completely remotely, but working on a covered federal contract, they still “must comply

with the vaccination requirement ... even if the employee never works at either a covered

contractor workplace or Federal workplace during the performance of the contract.” Id. at 11.

   73. Thus, the Guidance ensures that almost any employee of an organization with a federal

contract is a “covered contractor employee” subject to the contractor vaccine mandate.

   74. The contractor “must ensure that” all covered employees are “fully vaccinated” by “no

later than December 8, 2021” or the “first full day of the period of performance on a newly awarded

contract” or a renewed or extended contract. Ex. 1, at 5.




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    75. The Guidance FAQs also clarify that the contractor vaccine mandate applies to small

businesses. Ex. 1, at 12.

    76. The Guidance FAQs also show that the contractor vaccine mandate preempts any contrary

State or local laws or ordinances. Ex. 1, at 13.

    77. The Guidance FAQs also establish that covered contractors must comply with “any new

Guidance where the OMB Director approves the Guidance and determines that adherence to the

Guidance will promote economy and efficiency in Federal contracting.” Ex. 1, at 13. To put it

another way, the Task Force may change the Guidance, including the contractor vaccine mandate,

at any time, and that change will purportedly be binding.

                        Exceptions to the Contractor Vaccine Mandate

    78. The Guidance does not exempt from the contractor vaccine mandate employees who have

had a prior COVID-19 infection. Ex. 1, at 10.

    79. The Guidance does provide an exemption from the contractor vaccine mandate for those

with a disability that prevents them from being vaccinated or who seek an exemption “because of

a sincerely held religious belief, practice, or observance.” Ex. 1, at 5. The federal contractor is

responsible for reviewing and considering “what, if any, accommodation it must offer.” Id.; see

also id. at 7.

    80. The Guidance’s FAQs further clarify that federal contractors are “responsible for

determining if a covered contractor employee must be provided an accommodation because ... of

a sincerely held religious belief, practice, or observance.” Ex. 1, 9–10. “The contractor is

responsible for considering, and dispositioning, such requests for accommodations regardless of

the covered contractor employee’s place of performance.” Id. at 10.




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   81. The Guidance—in a section requiring masks in covered contractor workplaces—provides

that those who are “not fully vaccinated,” which would include those who received religious

exemptions, are subject to more onerous masking requirements. Ex. 1, at 6. Specifically, they

must wear a mask “regardless of the level of community transmission” and outdoors in crowded

settings or where there are “activities that involve sustained close contact with other people who

are not fully vaccinated.” Id. at 6–7. They must also socially distance when practicable. Id. at 6.

Vaccinated people need not do that.

                       Enforcement of the Contractor Vaccine Mandate

   82. Under the Guidance, the employer (the contractor or subcontractor) is responsible for

ensuring that a covered contractor employee is fully vaccinated. See Ex. 1, at 5–6. The contractor

or subcontractor “must review its covered employees’ documentation to prove vaccination status.”

Id. Specifically, they “must require covered contractor employees to show or provide their

employer with one” of several documents. Id. at 6.

   83. If an employee loses their vaccine documentation, the Guidance FAQs suggests that they

reach out to State authorities. See Ex. 1, at 9.

   84. Federal contractors are responsible for ensuring that subcontractors comply with the

contractor vaccine mandate. The FAQs clarify that prime contractors are “responsible for ensuring

that the required clause”—which mandates compliance with the Guidance—“is incorporated into

its first-tier subcontracts,” with subcontractors doing the same if there are lower-tier contractors.

Ex. 1, at 13–14.

   85. The Guidance “strongly encourage[s]” contractors to “incorporate similar vaccination

requirements into their non-covered contracts and agreements with non-covered contractors whose




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employees perform work at covered contractor workplaces” but are not otherwise involved with a

federal contract. Ex. 1, at 6.

                The Federal Contractor Vaccine Mandate Harms Plaintiff States

    86. The Guidance, which encompasses the federal contractor vaccine mandate, directly injures

the Plaintiff States.

    87. Multiple agencies and political subdivisions of the Plaintiff States are contractors with the

federal government and are therefore subject to the contractor vaccine mandate, as delineated in

the Guidance. This inflicts direct injury on the Plaintiff States’ interests in numerous ways,

including but not limited to the following examples:

           a.   The State of Missouri has state agencies that are federal contractors and will be

       directly affected by the contractor vaccine mandate.

           b.   The contractor vaccine mandate also purportedly preempts Missouri laws and

       executive orders regarding the issuance of public health orders and the rights and liberties

       of its citizens.

           c.   The State of Nebraska has various state agencies that are federal contractors and

       will be directly affected by the contractor vaccine mandate.

           d.   The Nebraska Department of Health and Human Services is a contractor for the

       federal Centers for Disease Control and Prevention (“CDC”). That Nebraska agency

       currently has a contract with CDC to provide Vital Statistics Cooperative Program data and

       to perform special projects related to that program. The amount of that contract exceeds the

       simplified acquisition threshold defined in Section 2.101 of the FAR.

           e.   The Nebraska Department of Agriculture is a contractor for the federal Department

       of Health and Human Services. That Nebraska agency currently has an animal food


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inspection contract with that federal agency. The amount of that contract exceeds the

simplified acquisition threshold defined in Section 2.101 of the FAR.

   f.   The Nebraska Department of Education is a contractor for the federal Department

of Education. That Nebraska agency currently has a National Assessment of Educational

Progress contract with that federal agency. The amount of that contract exceeds the

simplified acquisition threshold defined in Section 2.101 of the FAR.

   g.   The Executive Office of the State of Nebraska is a contractor for the National

Oceanic and Atmospheric Administration (“NOAA”)—an agency under the federal

Department of Commerce. That Nebraska agency currently has a contract for NOAA

Weather Radio maintenance services with that federal agency. The amount of that contract

exceeds the simplified acquisition threshold defined in Section 2.101 of the FAR.

   h.   The State of Alaska has several state agencies—including the Department of Health

and Human Services, Department of Public Safety, and Department of Corrections, among

others—that are federal government contractors and will be directly affected by the

contractor vaccine mandate.

   i.   The State of Alaska also has several state instrumentalities—including the

University of Alaska System and Alaska Railroad—that will be directly affected by the

contractor vaccine mandate.

   j.   The University of Alaska System operates world-class research facilities, the

interruption of which will cause incalculable damage to the State of Alaska and the national

scientific community.

   k.   The University of Alaska System also operates the DOD-funded Geophysical

Detection of Nuclear Proliferation University Affiliated Research Center, which detects,


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locates, and assesses the threat potential of nuclear activities worldwide through research,

development, testing, and evaluation of scientific and technological capabilities. The

disruption of this program would jeopardize national security and public safety.

   l.   The contractor vaccine mandate attempts to override Alaskans’ fundamental right

to privacy as enshrined in Article I, Section 22 of the Alaska Constitution. That fundamental

right includes the right to make decisions about medical treatment. The Alaska Supreme

Court affirmed that right in Huffman v. State, 204 P.3d 339 (Alaska 2009), when it held that

an individual’s freedom to make medical decisions for themselves is a fundamental right

protected under Article I, Section 22.

   m. The contractor vaccine mandate also ostensibly preempts an Alaska statute that

broadly protects all Alaskans’ rights to object to COVID-19 vaccines “based on religious,

medical, or other grounds,” and that forbids any person from “requir[ing] an individual to

provide justification or documentation to support the individual’s decision to decline a

COVID-19 vaccine.” 2021 Alaska Sess. Laws ch. 2, § 17 (emphasis added).

   n.   The contractor vaccine mandate also ostensibly preempts Arkansas statutes,

including Ark. Code 20-7-143, which prohibits public entities from requiring vaccines, and

which is currently in effect; and Ark. Code 11-5-118, which governs private employers

(including contractors operating in the state) and requires employees be given a testing

option, and which has been enacted and will go into effect in January 2022.

   o.   The contractor vaccine mandate also ostensibly preempts a recently enacted

Montana statute that generally forbids employers in that State “to refuse employment to a

person, to bar a person from employment, or to discriminate against a person in




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compensation or in a term, condition, or privilege of employment based on the person’s

vaccination status.” Mont. Code Ann. § 49-2-312(1)(b).

   p.   The State of South Dakota has several State agencies—including the Department

of Transportation, Department of Public Safety, and the Department of Corrections, among

others—that are federal government contractors and will be directly affected by the

contractor vaccine mandate.

   q.   The University of Wyoming, which is a State entity, has a number of federal

contracts, including cooperative agreements and subcontracts, with various federal agencies

that are either up for a renewal or extension or expected to be awarded to the University in

the near future. The contractor mandate will directly affect this State entity.

   r.   Because the Guidance requires contractors and subcontractors—which include

agencies and political subdivisions of Plaintiff States—to enforce the contractor vaccine

mandate among their employees and subcontractors, it directly infringes the State’s

sovereign authority. Agencies and political subdivisions of the Plaintiff States now have a

duty to enforce the federal contractor vaccine mandate.

   s.   Because the Guidance requires contractors and subcontractors—which include

agencies and political subdivisions of Plaintiff States—to enforce the contractor vaccine

mandate among their employees and subcontractors, the Plaintiff States will face increased

costs related to the enforcement. See also Ex. 1, at 8 (requiring contractors to appoint a

person to coordinate implementation and compliance with the Guidance).

   t.   Because the Guidance requires contractors and subcontractors—which includes

agencies and political subdivisions of the Plaintiff States—to enforce the contractor vaccine




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      mandate, it infringes on rights that the Tenth Amendment guarantees the Plaintiff States by

      commandeering state officers to enforce federal policy.

          u.   The breadth of the Guidance means that numerous employees of the Plaintiff States

      who are not involved in any federal contract will have to be vaccinated. That will not only

      increase costs to the Plaintiff States, but will also make it harder to retain and attract

      employees, as current events involving private companies show that vaccine mandates have

      led to employees quitting or being fired in large numbers rather than getting vaccinated.

      Furthermore, if States choose to exercise their sovereign prerogative to not require vaccine

      mandates, they will face loss of federal funds.

          v.   Furthermore, the Guidance’s religious exemptions purport to preempt state

      Religious Freedom Restoration Act (State RFRA) laws and free exercise rights protected

      by state constitutions. Because the Guidance purports to preempt those laws, see Ex. 1, at

      13, it injures the Plaintiff States’ ability to comply with their own laws, their sovereign right

      to enact and enforce their laws, and their interest in protecting the free exercise of religion.

   88. The contractor vaccine mandate, as embodied in the Guidance, harms the Plaintiff States

beyond the direct harms that flow from the fact that certain agencies and political subdivisions of

the Plaintiff States are contractors subject to the mandate, including but not limited to the

following:

          a.   Because the Guidance claims to preempt all contrary State law, see Ex. 1, at 13, it

      injures the Plaintiff States’ sovereign, quasi-sovereign, and parens patriae interests to set

      their own laws regarding workplace issues that would otherwise apply to contractors within

      the States’ borders, as well as preempting state religious-liberty protections under state

      RFRAs and state constitutions as noted above.


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   b.   Because the Guidance claims to preempt all contrary State law, see Ex. 1, at 13, it

injures the Plaintiff States’ sovereign, quasi-sovereign, and parens patriae interests to set

their own laws regarding public health orders.         See, e.g., MO. REV. STAT. § 67.265

(restricting the ability of political subdivisions to issue health orders); Exec. Order No. 21-

10 § 3 (Oct. 28, 2021) (Gov. Parson) (prohibiting state agencies from penalizing individuals

or businesses for non-compliance with any federal COVID-19 vaccine mandate if the “non-

compliance is the result of an individual’s sincerely held religious belief or for medical

reasons”).

   c.   Because the Guidance claims to preempt all contrary State law, see Ex. 1, at 13, it

injures the Plaintiff States’ sovereign, quasi-sovereign, and parens patriae interests to set

their own laws regarding workforce vaccination policies under their “police power—a

power which the state did not surrender when becoming a member of the Union under the

Constitution.” Jacobson v. Massachusetts, 197 U.S. 11, 24–25 (1905).

   d.   The Guidance requires employees to prove vaccination status with documentation,

and on information and belief, agencies of the Plaintiff States often possess such

documentation. See Ex. 1, at 9. A predictable consequence of the contractor vaccine

mandate is thus to increase the number of people seeking documentation from the Plaintiff

States regarding vaccination status. See Dep’t of Commerce v. New York, 139 S. Ct. 2551,

2566 (2019). On information and belief, that will increase costs to the Plaintiff States.

   e.   On information and belief, a natural and predictable consequence of the vaccine

mandate is that numerous employees may be fired, retire, or quit their jobs, including

employees of businesses within the Plaintiff States. This injures the Plaintiff States’ quasi-

sovereign and parens patriae interest in the economic well-being of their citizens. It further


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injures the Plaintiff States in that it will likely increase the burden on the Plaintiff States’

unemployment insurance funds, and it will inflict economic disruption on the States’

economies as a whole.

    f.   On information and belief, a natural and predictable consequence of the federal

contractor vaccine mandate is that employers who are critical to the supply chain, and are

also federal contractors, will likely lose significant numbers of employees. It is entirely

predictable, therefore, that the contractor vaccine mandate will exacerbate current supply

chain issues. As a result, prices will continue to rise and cause direct injuries to the Plaintiff

States as purchasers. It will also harm their quasi-sovereign parens patriae interest in the

economic well-being of their residents, who will suffer from further supply chain

disruptions. See Spencer Kimball, Business Croups Ask White House to Delay Biden

COVID Vaccine Mandate Until After the Holidays, CNBC (Oct. 25, 2021),

https://www.cnbc.com/2021/10/25/businesses-ask-white-house-to-delay-biden-covid-

vaccine-mandate-until-after-holidays.html (“Worried that President Joe Biden’s Covid

vaccine mandate for private companies could cause a mass exodus of employees, business

groups are pleading with the White House to delay the rule until after the holiday season.”).

    g.   The contractor vaccine mandate as embodied in the guidance discriminates between

citizens of the Plaintiff States who are vaccinated and those who are not, and denies the

latter employment opportunities available to the former. The States have a quasi-sovereign

and parens patriae interests in protecting their citizens from discriminatory policies. See

Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 609 (1982) (“This

Court has had too much experience with the political, social, and moral damage of




                                            23
      discrimination not to recognize that a State has a substantial interest in assuring its residents

      that it will act to protect them from these evils.”).

   89. As sovereign states, the Plaintiff States have quasi-sovereign interests in protecting the

rights of their citizens and vindicating them in court.         The States may sue to challenge

constitutional violations that “affect the [States’] public at large.” In re Debs, 158 U.S. 561, 584

(1895).

   90. Declaratory relief announcing that the federal contractor vaccine mandate, as embodied in

the Guidance, is unlawful, an injunction enjoining enforcement of that mandate, and an order

vacating the Guidance will remedy those harms to the Plaintiff States’ interests.

                                     CLAIMS FOR RELIEF

              COUNT ONE – VIOLATION OF THE PROCUREMENT ACT
                            (40 U.S.C. §§ 101 and 121)

   91. All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   92. The purpose of the Federal Property and Administrative Services Act (Procurement Act)

“is to provide the Federal Government with an economical and efficient system for” enumerated

procurement activities. 40 U.S.C. § 101. Those activities include “[p]rocuring and supplying

property and nonpersonal services,” use and disposal of property, and records management. Id.

   93. To fulfill that purpose, the “President may prescribe policies and directives that the

President considers necessary to carry out” the Procurement Act. 40 U.S.C. § 121(a). “The

policies must be consistent with” the Procurement Act. Id.

   94. The contractor vaccine mandate is not consistent with the Procurement Act because it is

not a necessary policy or directive “to provide the Federal Government with an economical and

efficient system for” procurement, including but not limited to for the following reasons.




                                                 24
a. Far from increasing economy and efficiency in procurement, the contractor vaccine

   mandate will have deleterious effects on economy and inefficiency by causing the

   large-scale resignations of unvaccinated employees of federal contractors. These

   disruptive consequences will directly oppose both “economy” and “efficiency.” A

   current survey from the Kaiser Family Foundation found that 72 percent of

   unvaccinated workers say that they will quit rather than submit to a vaccine

   mandate. See Chris Isidore et al., 72% of unvaccinated workers vow to quit if

   ordered     to   get    vaccinated,     CNN.com       (Oct.    28,    2021),     at

   https://www.cnn.com/2021/10/28/business/covid-vaccine-workers-

   quit/index.html. Such mass resignations would impose drastic hardship on working

   families throughout the Plaintiff States and would also cause massive economic

   disruption for federal contractors and for the economy at large. These concerns far

   outweigh any perceived benefits to economy and efficiency from the contractor

   mandate. This is the antithesis of “efficiency and economy.”

b. The reach of the contractor vaccine mandate, as evidenced in the Guidance, is too

   broad to be consistent with the Procurement Act. Even assuming that vaccinated

   employees do promote efficiency “by reducing absenteeism and decreasing labor

   costs,” as OMB said, 86 Fed. Reg. 53,692, the Guidance applies to employees who

   work remotely and employees who have the most fleeting interactions with

   employees working on federal contracts. Such breadth is unnecessary to prevent

   the spread of COVID-19, and so completely unconnected with any possible

   rationale relating to economy and efficiency.




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           c. The Guidance’s application to subcontractors has no direct connection to federal

               procurement and thus lies outside the Procurement Act.

           d. Because even vaccinated individuals can spread COVID-19, among other reasons,

               the contractor vaccine mandate, insofar as it seeks to promote economy and

               efficiency by limiting the spread of the virus, see EO 14042 § 1, is not appropriately

               tailored to achieve its goals.

           e. The Guidance undermines economy and efficiency, and exceeds the Government’s

               statutory authorization, in other ways as well.

   95. The contractor vaccine mandate is not statutorily authorized by the Procurement Act.

Nowhere in the Procurement Act is there a clear statement from Congress indicating that the Act

permits rules like the contractor vaccine mandate, as embodied in the Guidance. But such a rule

is necessary where, as here, the federal action involves issues “of deep ‘economic and political

significance.’” King v. Burwell, 576 U.S. 473, 486 (2015) (quoting Util. Air Regulatory Grp. v.

EPA, 573 U.S. 302, 324 (2014) (quoting FDA v. Brown & Williamson Tobacco Corp., 529 U.S.

120, 160 (2000))). Likewise, a clear statement is required before a statute is interpreted to push

the limits of Congress’s authority under the Commerce Clause or disrupt the federal-state balance

of authority between the federal government and the States—both of which the Guidance purports

to do. No such clear statement appears in this statute.

   96. The contractor vaccine mandate’s application to subcontractors has no direct connection to

federal procurement, and thus does not fall within the purview of the Procurement Act.

   97. For those reasons, the Guidance is inconsistent with the Procurement Act and is invalid.

            COUNT TWO – VIOLATION OF PROCUREMENT POLICY ACT
                             (41 U.S.C. § 1707)
   98. All preceding Paragraphs of this Complaint are hereby incorporated by reference.


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   99. Under the Office of Federal Procurement Policy Act (OFPPA), procurement policies must

be published for public comment in the Federal Register for 60 days before taking effect if the

policy “relates to the expenditure of appropriate funds” and either “has a significant effect beyond

the internal operating procedures of the agency issuing the policy” or “has a significant cost or

administrative impact on contractors.” 41 U.S.C. § 1707(a)(1).

   100.        The Guidance, including the contractor vaccine mandate contained therein, is a

procurement “policy” and also a procurement “procedure” under 41 U.S.C. § 1707(a).

   101.        The Guidance, including the contractor vaccine mandate contained therein, relates

to the expenditure of appropriated funds; has a significant effect beyond internal operating

procedures; and imposes a significant cost and administrative impact on contractors and offerors.

   102.        Defendants failed to publish the Guidance in the Federal Register for public

comment, as required by 41 U.S.C. § 1707. Nor did Defendants provide the required 60-day

comment period before it became effective. Id. This includes OMB’s short statement that the

Guidance promotes economy and efficiency in the procurement process. Neither the Guidance

itself, nor that statement, complied with the procedural requirements of § 1707.

   103.        No authorized officer ever waived the requirements of the Procurement Policy Act

as applied to the Guidance or to the vaccine mandate contained therein.

   104.        Defendants failed to comply with the requirements of the Procurement Policy Act

when issuing the Guidance, including the contractor vaccine mandate. The Guidance, including its

vaccine mandate, is therefore unlawful.

    COUNT THREE – UNLAWFUL USURPATION OF STATES’ POLICE POWERS

   105.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.




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    106.        The Tenth Amendment provides that: “The powers not delegated to the United

States by the Constitution, nor prohibited by it to the States, are reserved to the States respectively,

or to the people.”

    107.        That power includes the “police power” that is “inherent in the states” and is

“reserved from the grant of powers to the federal government by the Constitution.” United States

v. Constantine, 296 U.S. 287, 295–96 (1935). The power to impose vaccine mandates—to the

extent that it exists at all—can only be part of the police powers reserved to the States.

    108.        The federal government does not possess the general power to impose the

contractor vaccine mandate. That power, to the extent it exists at all, remains with the Plaintiff

States.

          COUNT FOUR – VIOLATION OF ANTI-COMMANDEERING DOCTRINE

    109.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

    110.        The Tenth Amendment provides that: “The powers not delegated to the United

States by the Constitution, nor prohibited by it to the States, are reserved to the States respectively,

or to the people.”

    111.        That amendment, along with basic structural features of the Constitution, deprives

Congress of “the power to issue direct orders to the governments of the States.” Murphy v. NCAA,

138 S. Ct. 1461, 1476 (2018). The Constitution thus does not tolerate the federal government

dragooning State officers “into administering federal law.” Printz v. United States, 521 U.S. 898,

928 (1997)

    112.        The contractor vaccine mandate violates the anti-commandeering doctrine by

requiring agencies and political subdivisions of the Plaintiff States to enforce the contractor

vaccine mandate against their own employees—including, most egregiously, employees that have


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nothing to do with federal contracts or those who are working remotely—and against their

subcontractors.

                  COUNT FIVE – PROCEDURAL VIOLATION OF THE APA
                                  (OMB Conclusion)
   113.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   114.        OMB is a federal agency subject to the requirements of the Administrative

Procedure Act (“APA”).

   115.        Under the APA, courts may “hold unlawful and set aside agency action ... found to

be ... without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

   116.        Assuming that OMB’s conclusion that the Guidance would “promote economy and

efficiency in Federal contracting,” which caused that Guidance to apply to all agency contracts

with federal contractors, is not subject to the Procurement Policy Act, it is an agency rule within

the meaning of the APA. See 5 U.S.C. § 551(4).

   117.        That conclusion is a major agency action that could not be lawfully conducted

without compliance with APA procedures, such as notice-and-comment rulemaking.

   118.        OMB did not seek input from stakeholders or the public, and did not provide any

public notice and comment period before concluding that the Task Force’s Guidance would

promote economy and efficiency in federal contracting.

   119.        The adoption and promulgation of the Guidance, including the federal contractor

vaccine mandate, is a major agency action that could not lawfully be conducted without

compliance with APA procedures such as notice-and-comment rulemaking.

   120.        OMB’s conclusion that the Guidance would promote economy and efficiency, thus

promulgating the Guidance as a binding rule on agencies and federal contractors, did not comply

with APA procedural requirements and should be held unlawful and set aside.


                                                29
                COUNT SIX – SUBSTANTIVE VIOLATION OF THE APA
                                (OMB Conclusion)
   121.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   122.        OMB is a federal agency subject to the requirements of the APA.

   123.        OMB’s adoption and promulgation of the Guidance on the basis that it would

promote economy and efficiency in federal contracting was a major agency action that could not

lawfully be conducted without compliance with the APA.

   124.        Under the APA, a court must “hold unlawful and set aside agency action” that is

arbitrary or capricious or otherwise not in accordance with law or contrary to the Constitution.

5 U.S.C. § 706(2)(A).

   125.        The APA also prohibits agency action that is “in excess of statutory jurisdiction,

authority, limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).

   126.        Under the APA, federal administrative agencies are required to engage in “reasoned

decision-making.” Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 379 (1998)

(cleaned up). In other words, “agency action is lawful only if it rests on a consideration of the

relevant factors” and “important aspects of the problem.” Michigan v. EPA, 576 U.S. 743, 750-

52 (2015) (cleaned up). Failing to consider important costs of a new policy or the efficacy of a

policy, for example, renders the policy arbitrary and capricious.

   127.        In adopting the Guidance and determining that it would promote economy and

judicial efficiency in federal contracting, OMB did not engage in reasoned decisionmaking.

   128.        First, on information and belief, OMB failed conduct its own independent analysis

but relied heavily on the Guidance. The Guidance does not display reasoned decisionmaking, but

instead ignored important aspects of the problem, including but not limited to economic impacts,

cost to States, cost to citizens, labor-force and supply-chain disruptions, the current risks of


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COVID-19, and basic distinctions among workers such as those with natural immunity to COVID-

19 and those who work remotely or with limited in-person contacts, among other important aspects

of the problem.

   129.       Second, there is no evidence to conclude that OMB engaged in “decisionmaking”

at all—whether reasoned or not. OMB’s conclusion that Guidance would “promote economy and

efficiency in Federal contracting” contained no explanation at all, so it did not “rest[ ] on a

consideration of the relevant factors.” Michigan v. EPA, 576 U.S. 743, 750 (2015). For instance,

OMB’s reasoning ignores costs to the States, State agencies, citizens, and the economy, which is

a “centrally relevant factor when deciding whether to regulate,” id. at 752-53, especially when

directed to determine whether the regulations would “promote economy and efficiency.”

   130.       There is also additional evidence that OMB failed to engage in reasoned

decisionmaking. Among other reasons:

           a. OMB also did not consider the effect of large-scale resignations of unvaccinated

              employees of federal contractors, especially in an economy already experiencing

              high levels of inflation, labor shortages, and a supply-chain crisis.

           b. OMB did not consider the effect this would have on States, which incur costs

              associated with enforcing the vaccine mandate within their agencies and political

              subdivisions that are federal contractors.

           c. OMB did not provide an exemption to persons with natural immunity to COVID-

              19, even though natural immunity exists and is at least as effective as vaccination

              in preventing re-infection, transmission, and severe health outcomes.

           d. OMB did not provide an exemption for contractors who work in their own homes

              or who are otherwise isolated from others while working.


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           e. OMB failed to consider whether the Guidance’s religious exemption was consistent

              with State RFRAs or the Federal RFRA. Instead, OMB unlawfully delegated

              authority to private entities, i.e., federal contractors, to dictate the scope of their

              own employees’ religious exemptions, instead of protecting employees’ religious

              freedom as required by federal law.

   131.       On information and belief, the Guidance and OMB’s approval of it failed to

consider the fact that contractor vaccine mandate will have a disparate impact on minority and

economically disadvantaged communities that have relatively low rates of vaccination, and will

inflict disproportionately greater unemployment, job losses, and economic injury on those

disadvantaged communities.

   132.       OMB failed to consider the fact that its actions were contrary to law, as they were

not authorized by the Procurement Act, the Procurement Policy Act, federal RFRA, or any other

federal statute, and were also unconstitutional, as the Guidance violates the Tenth Amendment and

was premised on an unconstitutional Executive Order.

   133.       Ultimately, OMB’s decision that the Guidance would improve efficiency by

reducing absenteeism and decreasing labor costs is facially pretextual. The OMB rule, in reality,

is a blatant attempt to federalize public health. See Ex. 2, at 3 (encouraging agencies “to apply

[the Guidance] broadly” “[t]o maximize the goal of getting more people vaccinated and decrease

the spread of COVID-19”).

   134.       Thus, OMB’s promulgation of the Guidance, including the contractor vaccine

mandate and masking rules, via its conclusion that it will promote economy and efficiency, is

arbitrary, capricious, and unlawful under the APA and should be set aside.




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              COUNT SEVEN – SUBSTANTIVE VIOLATION OF THE APA
               AGENCY ACTION NOT IN ACCORDANCE WITH LAW
                       AND IN EXCESS OF AUTHORITY

                                        (OMB Conclusion)

   135.         All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   136.        Under the APA, a court must “hold unlawful and set aside agency action” that is

“not in accordance with law” or “in excess of statutory . . . authority, or limitations, or short of

statutory right.” See 5 U.S.C. § 706(2)(A), (C).

   137.        The OMB rule adopting the Task Force guidance is contrary to law for at least four

reasons.

   138.        First, the OMB rule violates 41 U.S.C. § 1303(a) because it is a government-wide

procurement regulation, which only the FAR Council may issue.

   139.        EO 14042 apparently seeks to circumvent § 1303 by delegating the President’s

Procurement Act power to the OMB Director.

   140.        That attempt is unlawful because the President has no authority to issue regulations

under § 1303—only the FAR Council may issue government-wide procurement regulations. See

Centralizing Border Control Policy Under the Supervision of the Attorney General, 26 Op. OLC

22, 23 (2002) (“Congress may prescribe that a particular executive function may be performed

only by a designated official within the Executive Branch, and not by the President.”)

   141.        Second, and relatedly, the OMB rule is contrary to law because the Procurement

Act does not otherwise grant the President the power to issue orders with the force or effect of law.

Congress authorized the President to “prescribe policies and directives that the President considers

necessary to carry out” the Procurement Act. 40 U.S.C. § 121(a). “[P]olicies and directives”

describe the President’s power to direct the exercise of procurement authority throughout the

government. It does not authorize the President to issue regulations himself.
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   142.        Congress knows how to confer the power to “prescribe regulations,” as it expressly

authorized the GSA Administrator to do so in the same section. Id. § 121(c); see also Sosa v.

Alvarez-Machain, 542 U.S. 692, 711 n.9 (2004) (“[W]hen the legislature uses certain language in

one part of the statute and different language in another, the court assumes different meanings were

intended.”). And Congress has given the President the power to “prescribe regulations” in other

contexts, typically in the realm of foreign affairs and national defense. See, e.g., 18 U.S.C. § 3496

(“The President is authorized to prescribe regulations governing the manner of executing and

returning commissions by consular officers . . . .”); 32 U.S.C. § 110 (“The President shall prescribe

regulations, and issue orders, necessary to organize, discipline, and govern the National Guard.”).

   143.        Third, even if the Procurement Act authorized the President to issue orders with the

force or effect of law, it would not authorize approval of the Task Force guidance. The President

appears to assume that the Procurement Act authorizes him to issue any order that he believes, as

the Procurement Act’s statement of purpose states, promotes “an economical and efficient”

procurement system. 40 U.S.C. § 101; see 86 Fed. Reg. at 50,985 (“This order promotes economy

and efficiency in [f]ederal procurement.”). But that mistakes a prefatory purpose statement for a

grant of authority. D.C. v. Heller, 554 U.S. 570, 578 (2008) (“[A]part from [a] clarifying function,

a prefatory clause does not limit or expand the scope of the operative clause.”).

   144.        And even if the Procurement Act did authorize the President to issue binding

procurement orders solely because they may promote economy and efficiency, the OMB rule does

not adequately do so. Providing the federal government with an “economic and efficient system

for” procurement is not a broad enough delegation to impose nationwide social policy that

Congress has not separately authorized. Further, EO 14042 is divorced from the practical needs

of procurement. It will exclude otherwise competitive bidders, cause contractors to suffer labor


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shortages, and is substantially overbroad in, for example, refusing to account for natural immunity

and the low transmission risk for COVID-19 outdoors.

   145.        Fourth, the OMB rule is inconsistent with the requirements of the Competition in

Contracting Act, which requires federal agencies to provide for “full and open competition through

the use of competitive procedures.” 41 U.S.C. § 3301; see 40 U.S.C. § 121(a) (requiring “policies”

issued by the President pursuant to the Procurement Act to be “consistent with this subtitle”); id.

at § 111 (defining “this subtitle” in 40 U.S.C. § 121(a) as to also refer to division C (except

§§ 3302, 3501(b), 3509, 3906, 4710, and 4711) of subtitle I of title 41).

   146.        Because the OMB rule violates § 1303(a), seeks to exercise a delegated power the

President does not possess, relies on a misreading of FPASA, and violates § 3301, it is contrary to

law.

                 COUNT EIGHT – APA VIOLATIONS
AGENCY ACTION THAT IS NOT IN ACCORDANCE WITH LAW AND IS IN EXCESS
                          OF AUTHORITY
                                        (FAR Guidance)
   147.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   148.        The Guidance issued by the FAR Council, while stylized as “guidance,” is in reality

binding on regulated parties and so reviewable. See Iowa League of Cities v. EPA, 711 F.3d 844,

862–63 (8th Cir. 2013).

   149.        The Guidance does not explain what authority enables the FAR Council to create a

government-wide procurement regulation mandating vaccines for contractors. For the reasons set

forth above, the Procurement Act does not provide that authority.

   150.        The Guidance issued by the FAR Council is unlawful and in excess of statutory

authority for all the reasons stated above with respect to the actions of OMB.



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           COUNT NINE – APA AND STATUTORY VIOLATIONS
ARBITRARY AND CAPRICIOUS AGENCY ACTION AND VIOLATION OF NOTICE-
                  AND-COMMENT REQUIREMENTS
                                         (FAR Guidance)
   151.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   152.        Under the APA, a court must “hold unlawful and set aside agency action” that is

arbitrary or capricious or otherwise not in accordance with law or contrary to the Constitution.

5 U.S.C. § 706(2)(A).

   153.        The APA also prohibits agency action that is “in excess of statutory jurisdiction,

authority, limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).

   154.        The APA also prohibits agency action that was conducted “without observance of

procedure required by law,” 5 U.S.C. § 706(2)(D), and it requires procedures such as notice-and-

comment rulemaking, see 5 U.S.C. § 553.

   155.        41 U.S.C. § 1707 likewise requires the FAR Council to engage in notice-and-

comment rulemaking in this context.

   156.        The FAR guidance is arbitrary and capricious for the same reasons that OMB’s

adoption of the Task Force guidance was, as described more fully in the counts above.

   157.        The FAR guidance violates the APA because it was issued without engaging in

procedures required by law, including notice-and-comment rulemaking procedures, as described

more fully in the allegations above.

                         COUNT TEN – SEPARATION OF POWERS

   158.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

   159.        Our Constitution creates a federal government of limited and enumerated powers,

and this limitation applies to the Executive Branch.



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   160.        Any action of the Executive Branch must come from one of two sources of

authority: (1) a valid delegation of authority by statute enacted by Congress, or (2) a direct exercise

of one of the President’s enumerated powers in Article II. “The President’s power, if any, to issue

[an] order must stem either from an act of Congress or from the Constitution itself.” Youngstown

Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952).

   161.         Where “[t]here is no statute that expressly authorizes the President to take” an

action and no “act of Congress … from which such a power can fairly be implied,” the action is

not authorized by an act of Congress. Id.

   162.        In the absence of such an express or implied authorization by act of Congress, “if

the President had authority to issue the order he did, it must be found in some provisions of the

Constitution.” Id. at 587.

   163.        Article II confers no authority on the President to exercise any legislative function

without a delegation of authority by statute enacted by Congress.

   164.        EO 14042 purports to bind federal agencies to require in all contracts a clause

incorporating the Guidance, including the contractor vaccine mandate and mask requirements,

based on OMB’s conclusion that the Guidance would “promote economy and efficiency.” See EO

14042 § 2(a). That includes parts of the Guidance applying to employees with little to no nexus

to federal contracting programs.

   165.        By purporting to bind agencies and contractors to the Guidance—including the

contractor vaccine mandate and masking requirements—after a finding of economy and efficiency

by OMB, EO 14042 unconstitutionally and unlawfully seeks to exercise a quintessentially

legislative power that the Constitution vests exclusively in Congress under Article I, Section 1.




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    166.        To put it another way, the delegation that EO 14042 purported to give to OMB is

the type of delegation that is inherently legislative, and so that delegation needed to go through

bicameralism and presentment.

    167.        Congress did not delegate the authority to dictate vaccine and mask mandates on

federal contractors—which would include agencies and political subdivisions of States—to the

President or OMB. Indeed, consistent with the non-delegation doctrine, Congress likely could not

have validly delegated such sweeping and indeterminate authority, with enormous potential impact

on the U.S. economy, to a single federal agency—and certainly could not have done so without an

extremely clear statement of congressional intent. No such statement—and no such statute—exists

here.

    168.        Accordingly, EO 14042 violates the Constitution’s separation of powers.

   COUNT ELEVEN – VIOLATION OF TENTH AMENDMENT AND FEDERALISM

    169.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

    170.        The structure of the U.S. Constitution and the text of the Tenth Amendment protects

federalism.

    171.        The powers not delegated by the Constitution to the United States or prohibited by

it to the States are reserved to the States.

    172.        Defendants, through their vaccine mandate, have exercised power far beyond what

was delegated to the federal government by constitutional mandate or congressional action.

    173.        Neither Article II of the U.S. Constitution nor any act of Congress authorizes

Defendants to implement their vaccine mandate.

    174.        The power to impose vaccine mandates, to the extent that any such power exists, is

a power reserved to the States.


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    175.        By interfering with the traditional balance of power between the States and the

federal government, and by acting pursuant to ultra vires federal action, Defendants violated the

Tenth Amendment and structural principles of federalism.

    176.        Defendants’ mandate was thus adopted pursuant to an unconstitutional exercise of

authority and must be invalidated.

COUNT TWELVE – UNCONSTITUTIONAL EXERCISE OF THE SPENDING POWER

    177.        All preceding Paragraphs of this Complaint are hereby incorporated by reference.

    178.        The contractor vaccine mandate is an unconstitutional condition on the Plaintiff

States’ receipt (by and through their agencies and political subdivisions who are federal

contractors) of federal funds.

    179.        “[I]f Congress intends to impose a condition on the grant of federal moneys, it must

do so unambiguously,” so “States [can] exercise their choice knowingly,” Pennhurst State Sch. &

Hosp. v. Halderman, 451 U.S. 1, 17 (1981).

    180.        Federal contracts are an exercise of the Spending Clause, yet the challenged actions

ask the Plaintiff States to agree to an ambiguous contract term—specifically, agreeing to comply

with Guidance that can be changed at any time.

    181.        Nor does the Procurement Act provide the requisite notice to States who are federal

contractors or have agencies and political subdivisions that are federal contractors, like the Plaintiff

States, that the contractor vaccine mandate would be a condition of their contract.

    182.        “[C]onditions on federal funds must be related to the federal interest in particular

national projects or programs.” Van Wyhe v. Reisch, 581 F.3d 639, 650 (8th Cir. 2009).

    183.        Because the contractor vaccine mandate is not necessary, nor necessarily effective,

at preventing the spread of COVID-19, and, on information and belief, will lead to employees



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either being fired or resigning, it is not rationally related to any federal interest in a particular

project or program that is the subject of a federal contract.

   184.         Because the contractor vaccine mandate, as embodied in the Guidance, covers

employees who have no connection to the federal contract beyond just being coworkers with an

employee who works on such a contract and being likely to come into contact with them, the

mandate is not rationally related to any federal interest in a particular project or program that is

the subject of a federal contract.

   185.         “[C]onditions must not be prohibited by other constitutional provisions.” Van

Wyhe, 581 F.3d at 650.

   186.         As described above, the contractor vaccine mandate is prohibited by the Tenth

Amendment and Free Exercise Clause.

                                     PRAYER FOR RELIEF

Wherefore, the Plaintiff States ask this Court to issue an order and judgment:

A. Declaring unconstitutional, pursuant to 28 U.S.C. § 2201, the Guidance, including the

   contractor vaccine mandate;

B. Declaring unconstitutional, pursuant to 28 U.S.C. § 2201, EO 14042 as violating the separation

   of powers;

C. Declaring unconstitutional and unlawful, pursuant to 28 U.S.C. § 2201, the FAR Council

   guidance;

D. Declaring, pursuant to 28 U.S.C. § 2201, that OMB’s conclusion that the Guidance promotes

   economy and efficiency is unlawful under the Federal Procurement Act and the Procurement

   Policy Act;




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E. Declaring, pursuant to 28 U.S.C. § 2201, that OMB’s conclusion that the Guidance promotes

   economy and efficiency is unlawful and arbitrary and capricious under the APA;

F. Declaring, pursuant to 28 U.S.C. § 2201, that the Task Force Guidance, including the

   contractor vaccine mandate, is unlawful under the Federal Procurement Act and the

   Procurement Policy Act;

G. Declaring, pursuant to 28 U.S.C. § 2201, that the Task Force Guidance, including the

   contractor vaccine mandate, is unlawful and arbitrary and capricious under the APA;

H. Declaring, pursuant to 28 U.S.C. § 2201, that the Task Force Guidance, including the

   contractor vaccine mandate, is not a constitutional exercise of Congress’s spending power;

I. Declaring, pursuant to 28 U.S.C. § 2201, that the FAR Council guidance, including the

   contractor vaccine mandate, is unlawful under the APA;

J. Declaring, pursuant to 28 U.S.C. § 2201, that the FAR Council guidance, including the

   contractor vaccine mandate, is arbitrary and capricious under the APA;

K. Enjoining Defendants from imposing the Guidance, including the vaccine mandate and

   masking requirements, on federal contractors;

L. Enjoining Defendants from imposing the FAR Council guidance, including the vaccine

   mandate and masking requirements, on federal contractors;

M. Enjoining Defendants from issuing any COVID-19 requirements on federal contractors

   without first following the required notice-and-comment procedures of the Procurement Policy

   Act and APA;

N. Set aside OMB’s conclusion that the Task Force Guidance promotes economy and efficiency;

O. Set aside the FAR Council’s guidance; and

P. Grant any and all other relief the Court deems just and proper.


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Dated: October 29, 2021                   Respectfully submitted,


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